                       IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA
    In re:
                                                            Chapter 11
    INT. ASSOC. OF SHEET METAL, AIR,
    RAIL & TRANSPORTATION WORKERS,                          Case No. 23-11777-mdc
    TRANSPORTATION DIV., LOCAL 1594, 1

                   Debtor.



    NOTICE OF APPLICATION OF THE DEBTOR FOR AN ORDER (I) FIXING A BAR
     DATE FOR FILING PROOFS OF CLAIM AND (II) APPROVING THE BAR DATE
                 ORDER, NOTICE AND RELATED PROCEDURES


TO: THE UNITED STATES TRUSTEE, FED.R.BANR.P. 2002 PARTIES, AND PARTIES IN
INTEREST, NOTICE IS GIVEN THAT:

        1.      An Application of Debtor, Int. Assoc. of Sheet Metal, Air, Rail & Transportation
Workers, Transportation Div., Local 1594, Pursuant to Bankruptcy Rules 2002(a)(7) and
3003(c)(3), for an Order (i) Fixing a Bar Date for Filing Proofs of Claim and (ii) Approving the
Bar Date Order, Notice and Related Procedures (the “Application”) has been filed with the United
States Bankruptcy Court for the Eastern District of Pennsylvania, Robert N.C. Nix, Sr. Building,
Suite 400, 900 Market Street, Philadelphia, PA 19107, where it is available for inspection during
normal business hours.

       2.        The Application requests that the Court (i) establish bar dates to file proofs of
claim in this case and (ii) approve the form and manner of notice thereof.

        3.      Any creditor or party in interest or the U.S. Trustee may file an answer, objection
or other responsive pleading to this Application with the Clerk’s Office, United States Bankruptcy
Court, Robert N.C. Nix, Sr. Building, Suite 400, 900 Market Street, Philadelphia, PA 19107,
within seven (7) calendar days of the date of this Notice and serve a copy upon counsel for the
Debtor whose name and address appears below. Any creditor or party of interest or the U.S.
Trustee may request a hearing in writing stating the reason why a hearing is necessary.




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 If applicable, the last four digits of the taxpayer identification number of the Debtor is 6853 and the Debtor’s
address is 6938 Market Street, Second Floor, Suite 3, Upper Darby, PA 19082.
        4.      In the absence of any answer, objection or responsive pleading, the Court may
enter an Order approving the Application and establishing the bar dates requested by the Debtor.

Dated: July 24, 2023                GELLERT SCALI BUSENKELL & BROWN, LLC

                                            /s/ Holly S. Miller
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                                            Counsel to the Debtor




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